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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MELCINA BLANTON,                                     )
                                                     )
        Plaintiff,
                                                     )
        v.                                           )    Case No. 15 CV 3156
ROUNDPOINT MORTGAGE SERVICING                        )
CORP., and LOCKE LORD LLP,                           )
                                                     )
        Defendants.                                  )

             ROUNDPOINT’S MOTION TO QUASH DEPOSITION NOTICES

        Defendant RoundPoint Mortgage Servicing Corporation respectfully moves for an Order

quashing Plaintiff’s notices of depositions as to RoundPoint’s non-party employees David

Hughes and Jeffrey Martin. See Group Exhibit A. Plaintiff improperly seeks to depose Hughes

and Martin upon notice rather than serving them with subpoenas under Rule 45.

                                          INTRODUCTION

        Late in the evening on March 5, 2018, barely 10 days before the close of discovery,

Plaintiff served notices of depositions identifying two non-party, out-of-state individuals whose

names appear on letters that were sent to Plaintiff by RoundPoint. Defense counsel contacted

Plaintiff’s counsel the next morning to confer about whether Plaintiff intended to serve the

proposed deponents with subpoenas. Plaintiff’s counsel responded by email: “As Vice-

Presidents, they are Officers of Roundpoint and thus Rule 45 Subpoenas are not necessary since

they are being called for their actions that were taken in their corporate capacity on behalf of the

Defendant.”1 Neither David Hughes nor Jeffrey Martin is an officer subject to deposition upon

notice, however, and RoundPoint therefore brings this motion, supported by evidence, to quash

Plaintiff’s efforts to circumvent the ordinary rules of discovery.

1
 A copy of Plaintiff’s counsel’s email conferring about this discovery dispute is attached to this motion
as Exhibit B.
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                                               ARGUMENT

      Hughes and Martin are not officers of RoundPoint subject to deposition upon notice.

          Plaintiff cannot depose any RoundPoint employee she chooses upon notice without

serving a subpoena; rather, “[a] party is entitled to identify and notice for deposition a specific

corporate officer, director or managing agent under Rule 30(b)(1)….” Playboy Enterprises Int'l,

Inc. v. Smartitan (Singapore) Pte. Ltd., No. 10 C 4811, 2011 WL 5529928, at *1 (N.D. Ill. Nov.

14, 2011) (emphasis added). As noted above, when the parties conferred about this issue,

Plaintiff narrowed the scope of this dispute to the question of whether Hughes and Martin may

be deposed upon notice as officers of RoundPoint because they signed letters to Plaintiff under

the title “vice president.”

          Hughes and Martin do not qualify as officers of RoundPoint. Under Florida law,2 a

corporation’s officers include only those persons or positions “described in its bylaws or

appointed by the board of directors in accordance with the bylaws.” Fla. Stat. § 607.08401.

Illinois law is even more restrictive: officers are limited to those listed in the bylaws. 805 ILCS

5/8.50. Under no circumstances does a job title alone mean that anyone is a corporate officer,

nor does simply signing a letter that was produced in discovery. See Earthy, LLC v. BB&HC,

LLC, No. 16 CV 4934, 2017 WL 4512761, at *2 (N.D. Ill. Oct. 10, 2017) (rejecting argument

that employee who appeared in a high position on an organizational chart and signed an

agreement at the center of the dispute may be deposed without a subpoena). Plaintiff has offered

no valid basis for concluding that Hughes and Martin are RoundPoint officers. Plaintiff’s notices

of depositions should be quashed on that basis alone.

          Further, to remove any doubt, RoundPoint offers the Declaration of Steven B. Forsythe,

RoundPoint’s General Counsel and Corporate Secretary, to affirmatively establish that Hughes

2
    RoundPoint is incorporated under Florida law. Exhibit C, at ¶ 2, Ex. 1.

                                                      2
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and Martin are not officers. See Exhibit C. David Hughes is a Senior Vice President of

RoundPoint’s Contact Center, and Jeffrey Martin is a Vice President of Correspondence. Ex. C

at ¶ 3. Neither Hughes nor Martin is identified as an officer in RoundPoint’s bylaws, nor do the

bylaws list Hughes’s or Martin’s positions as officer positions in the corporation. Id. Only one

Vice President position is listed as an officer in the bylaws of RoundPoint, but that particular

position is held by a person who is not Hughes or Martin. Id. at ¶ 3, Ex. 1. Accordingly, neither

Hughes nor Martin qualifies as an officer of RoundPoint under Florida or Illinois law; therefore,

neither is subject to deposition upon notice without a proper subpoena. 3 The Court should quash

Plaintiff’s notices of their depositions.

                                            CONCLUSION

        For the reasons set forth above, Defendant RoundPoint Mortgage Servicing Corporation

respectfully requests entry of an order quashing the Plaintiff’s notices of depositions, and for

such further and other relief as the Court deems just and appropriate.

Dated: March 9, 2018                                      ROUNDPOINT MORTGAGE
                                                          SERVICING CORPORATION

                                                          By:/s/David F. Standa
                                                            One of their attorneys
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3
 Even if Plaintiff had taken the broader position that Hughes and Martin qualify as “directors” or
“managing agents,” the facts established in the Forsythe Declaration would defeat that position as well.
Hughes and Martin are simply not the type of employees that may be deposed upon notice alone.

                                                    3
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                               CERTIFICATE OF SERVICE

       I, David F. Standa, an attorney, do hereby certify that on March 9, 2018, I caused the
foregoing Motion to Quash Deposition Notices to be served through the Court’s Case
Management/Electronic Case Files (CM/ECF) system upon all persons and entities registered
and authorized to receive such service.

                                                                   /s/David F. Standa




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